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1        how we could potentially, you know, resolve the
2        situation as a whole and, you know, have this
3        lawsuit withdrawn or simply proceed from the
4        Jack Williams's perspective with the Wynn's
5        product line and continue to sell those
6        products.
7                Q.             Did you ultimately come to an
8        agreement?
9                A.             Yes, we came to an agreement.
10               Q.             And what agreement did you come
11       to?
12               A.             Well, it was, you know, mostly
13       put together by the -- by legal counsel.                          But
14       the essence of the agreement is that we are --
15       Jack Williams will be able to proceed with the
16       sale of Wynn's products.                We agreed to not
17       solicit certain customers, as provided by
18       PetroChoice.         We agreed that Fran would have no
19       part in the sales or promotion of the Wynn's
20       product line.          And we agreed that we -- in
21       exchange for those -- those items, we would
22       produce laptop and e-mails related to Fran.
23               Q.             When did you come to this
24       agreement?


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